     Case 3:19-cv-02450-W-KSC Document 21 Filed 10/26/20 PageID.172 Page 1 of 2



 1   Jesus Eduardo Arias, Esq. LL.M. [ SBN 293983 ]
     Law Office of Jesus Eduardo Arias
 2   18000 Studebaker Rd. Suite 700
     Cerritos California 90703
 3   E| jearias@jesuseduardoarias.com
     T| 323) 815 9450
 4   F| 323) 375 1196
     Attorney for Plaintiffs; Arlet Cruz, daughter of the decedent
 5   and Asuncion Gomez -Decedent’s mother; individually
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
 8                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
10   Arlet Cruz (Daughter of the Decedent)         )    No. 19-cv-2450-W-KSC
     individually and as successor in interest, &  )
11   ASUNCION GOMEZ an individual (mother          )    JOINT MOTION TO DISMISS
     of the decedent) individually,                )    DEFENDANT NESTOR KENSINGER
12                                                 )    WITH PREJUDICE
                                        Plaintiffs,)
13                                                 )
                      v.                           )
14                                                 )
     COUNTY OF SAN DIEGO; Nestor                   )
15   Kensinger, an individual; Deputy Martinez an )
     individual; and DOES 1 – 50 Inclusive,        )
16                                                 )
                                      Defendants.)
17                                                 )
                                                   )
18
     The parties to this action, by and through their attorneys of record, jointly move this Court
19
     for an Order dismissing Defendant Nestor Kensinger from all causes of action asserted
20
     against him in this lawsuit with prejudice. Each party to bear their own costs and fees.
21
     DATED: October 26, 2020                           Respectfully Submitted
22
23                                          By:        s/ Jesus Eduardo Arias, Esq.
                                                          Attorney for Plaintiffs
24
25
     DATED: October 26, 2020                THOMAS E. MONTGOMERY, County Counsel
26
27                                          By: s/Fernando Kish, Senior Deputy
                                            Attorneys for Defendants County of San Diego,
28                                          Matthew Martinez, and Nestor Kensinger
                                            E-mail: fernando.kish@sdcounty.ca.gov
                                                 1                       19-cv-2450-W-KSC
     Case 3:19-cv-02450-W-KSC Document 21 Filed 10/26/20 PageID.173 Page 2 of 2



 1                                SIGNATURE CERTIFICATION
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 3   Procedures Manual of the United States District Court for the Southern District of
 4   California, I certify that the contents of this document are acceptable to counsel for all
 5   parties, and that I have obtained authorization for all of the foregoing signatories to affix
 6   their electronic signature to this document.
 7
 8
 9
10   DATED: October 26, 2020                 LAW OFFICE OF JESUS EDUARDO ARIAS
11
                                             s/ Jesus Eduardo Arias, Esq.
12                                           Attorney for Plaintiffs
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    2                        19-cv-2450-W-KSC
